       UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF WISCONSIN

 RABBI ALEXANDER MILCHTEIN
 and ESTER RIVA MILCHTEIN,

                       Plaintiffs,              Case No. 19-CV-1834-JPS

 v.

 ELOISE ANDERSON, MILWAUKEE
 COUNTY, ARLENE HAPPACH,
 ROBIN JOSEPH, SARAH HENERY,
 MARTHA STACKER, LORI
 WAGNITZ, MARY PAT BOHN,
 CRYSTAL REYES, NADINE
 SHERMAN, JULIA KONRARDY
 COMEY, CHILDREN’S HOSPITAL
 AND HEALTH SYSTEM, INC., SARA
                                                         JUDGMENT
 WALDSCHMIDT, JACKIE VOYKIN
 STEFFES, MILWAUKEE COUNTY
 DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, KELLY
 PETHKE, MARK MERTENS, SARA
 WOITEL, BELLA’S GROUP HOME,
 LLC, JOHN T. CHISHOLM, and LORI
 KORNBLUM,

                       Defendants.


Decision by Court. This action came on for consideration before the Court
and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED that the State Defendants’
motion to dismiss (Docket #23) be and the same is hereby GRANTED
(Docket #48);




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      IT IS FURTHER ORDERED AND ADJUDGED that Plaintiffs’
claims as to Defendants Eloise Anderson, Mary Pat Bohn, John T.
Chisholm, Julia Konrardy Comey, Arlene Happach, Sarah Henery, Robin
Joseph, Lori Kornblum, Crystal Reyes, Nadine Sherman, Martha Stacker,
and Lori Wagnitz be and the same are hereby DISMISSED with
prejudice (Docket #48);

       IT IS FURTHER ORDERED AND ADJUDGED that Defendants
Eloise Anderson, Mary Pat Bohn, John T. Chisholm, Julia Konrardy
Comey, Arlene Happach, Sarah Henery, Robin Joseph, Lori Kornblum,
Crystal Reyes, Nadine Sherman, Martha Stacker, and Lori Wagnitz be and
the same are hereby DISMISSED from this action (Docket #48);

      IT IS FURTHER ORDERED AND ADJUDGED that the Hospital
Defendants’ notice of joinder in motion to dismiss (Docket #26, #28) be
and the same is hereby GRANTED (Docket #48);

       IT IS FURTHER ORDERED AND ADJUDGED that Plaintiffs’
claims as to Children’s Hospital and Health System, Inc., Jackie Voykin
Steffes, and Sara Waldschmidt be and the same are hereby DISMISSED
with prejudice (Docket #48);

       IT IS FURTHER ORDERED AND ADJUDGED that Defendants
Children’s Hospital and Health System, Inc., Jackie Voykin Steffes, and
Sara Waldschmidt be and the same are hereby DISMISSED from this
action (Docket #48);

      IT IS FURTHER ORDERED AND ADJUDGED that the County
Defendants’ motion to dismiss (Docket #26) be and the same is hereby
GRANTED in part and DENIED in part (Docket #48);

       IT IS FURTHER ORDERED AND ADJUDGED that the following
claims against Milwaukee County, Milwaukee County Department of
Health and Human Services, Mark Mertens, Kelly Pethke, and Sara Woitel
be and the same are hereby DISMISSED with prejudice: Plaintiffs’ claims
as to C.M. and S.M.; and Claim One, Counts Four and Eight, Claim Two,
and Claim Four as to D.M. (Docket #48);

     IT IS FURTHER ORDERED AND ADJUDGED that Defendant
BGH’s motion to dismiss (Docket #42) be and the same is hereby
GRANTED (Docket #48);


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        IT IS FURTHER ORDERED AND ADJUDGED that Claim Two
be and the same is hereby DISMISSED with prejudice as to Defendant
Bella’s Group Home, LLC (Docket #48);

        IT IS FURTHER ORDERED AND ADJUDGED that Defendant
Bella’s Group Home, LLC be and the same is hereby DISMISSED from
this action (Docket #48);

       IT IS FURTHER ORDERED AND ADJUDGED that Milwaukee
County and Milwaukee County Department of Health and Human
Services be and the same are hereby DISMISSED from this action (Docket
#58);

       IT IS FURTHER ORDERED AND ADJUDGED that Defendants
Sara Woitel, Kelly Pethke, and Mark Mertens’s motion to dismiss (Docket
#49) be and the same is hereby GRANTED (Docket #58);

      IT IS FURTHER ORDERED AND ADJUDGED that the following
claims against Defendants Sara Woitel, Kelly Pethke, and Mark Mertens
be and the same are hereby DISMISSED with prejudice: Claim One,
Counts One, Two, and Six as to D.M. (Docket #58);

      IT IS FURTHER ORDERED AND ADJUDGED that Claim One,
Count Three against Defendant Sara Woitel be and the same is hereby
DISMISSED with prejudice as to D.M. (Docket #58);

      IT IS FURTHER ORDERED AND ADJUDGED that Defendants
Sara Woitel, Kelly Pethke, and Mark Mertens be and the same are hereby
DISMISSED from this action (Docket #58); and

      IT IS FURTHER ORDERED AND ADJUDGED that this action be
and the same is hereby DISMISSED with prejudice (Docket #58).

                                      APPROVED:




                                      J.P. Stadtmueller
                                      U.S. District Judge




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                                   GINA M. COLLETTI
                                   Clerk of Court
September 24, 2021                 s/ Jodi L. Malek
Date                               By: Deputy Clerk




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